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 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11
     PATRICIA ANNE T. SAMSON, an                      Case No.
12   Individual,
                                                      [LASC Case No. BC 621 218]
13                     Plaintiff,
                                                      DEFENDANT WELLS FARGO
14          v.                                        BANK, N.A.'S NOTICE OF
                                                      REMOVAL OF ACTION TO
15 WELLS FARGO BANK, N.A a South                      FEDERAL COURT PURSUANT TO
   Dakota Corporation; and DOES 1                     28 U.S.C. _§§ 1332,1441 AND 1446
16 through 100, Inclusive,                            (DIVERSITY JURISDICTION)
17                     Defendants.                    Complaint Filed: May 20, 2016
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       1:478039401.2                 WELLS FARGO'S NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT
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      TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2    DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HER COUNSEL
 3    OF RECORD:
 4             PLEASE TAKE NOTICE that, Defendant Wells Fargo Bank, N.A., hereby
 5    removes the above-entitled action from the Superior Court of the State of California
 6 in and for the County of Los Angeles, to the United States District Court for the

 7    Central District of California. This Court has original subject matter jurisdiction
 8 over Plaintiffs lawsuit under 28 U.S.C § 1332(a) because complete diversity exists

 9    and the amount in controversy exceeds $75,000. Accordingly, removal is proper
 0 based on the following grounds:
 1                                          BACKGROUND
 2            1.        On or about May 20, 2016, Plaintiff Patricia Anne T. Samson
 3   ("Plaintiff') filed a Complaint against Defendants Wells Fargo Bank, N.A. ("Wells
 4   Fargo") in the Superior Court of the State of California, County of Los Angeles,
 5   Case No. BC621218 (the "Complaint"). A true and correct copy of the Complaint is
 6 attached hereto as Exhibit "A."

 7            2.        The Complaint purported to assert claims for relief arising out of
 8 Plaintiffs employment with Wells Fargo and the termination thereof. Specifically,

[9   Plaintiff brings claims for (1) Discrimination in Violation of FEHA - A. Physical
20 Disability, B. Age, C. Gender, D. National Origin; (2) Wrongful Termination in

21 Violation of Public Policy; (3) Retaliation in Violation of Public Policy; (4) Failure

22 to Accommodate.
23                                  TIMELINESS OF REMOVAL
24            3.        On June 2, 2016, Plaintiff served Wells Fargo with a summons and
25   copy of the Complaint. A true and correct copy of the Summons is attached hereto
26 as Exhibit "B."

27            4.        On June 30, 2016, Wells Fargo answered the Complaint in state court.
28   A true and correct copy of the Answer is attached hereto as Exhibit "C."

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     1             5.       This Notice of Removal is timely as it is filed within thirty (30) days of
 2 the first receipt by a defendant of a copy of a paper (in this case, the Complaint) that

 3        revealed this case was properly removable. 28 U.S.C. § 1446(b).
 4                      DIVERSITY JURISDICTION UNDER 28 U.S.C. S 1332(a)
 5                 6.       Plaintiffs Citizenship: Plaintiff alleges, and Wells Fargo is informed
 6 and believes, that Plaintiff is and at all times since the commencement of this action

 7        has been, a citizen and resident of the State of California.1 To establish citizenship
 8 for diversity purposes, a natural person must be both (a) a citizen of the United

 9        States and (b) a domiciliary of one particular state. Kantor v. Wellesley Galleries,
10 Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). Residence is prima facie evidence of

11       domicile. State Farm Mut. Auto Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994).
12       Wells Fargo is informed and believes, and on that basis alleges, that Plaintiff was
13       domiciled in California while she worked for Wells Fargo in California. Plaintiff
14       therefore is, or was at the institution of this civil action, a citizen of California.
15                7.        Wells Fargo's Citizenship: Wells Fargo Bank, N.A., is not a citizen
16 of California. Plaintiffs claims arise from her employment with Wells Fargo.

17       Pursuant to 28 U.S.C. § 1348, Wells Fargo, as a national banking association, is a
18 citizen of the state where its main office is "located." Wells Fargo, with its main

19       office located in Sioux Falls, South Dakota, is a citizen of South Dakota. See Rouse
20 v. Wachovia Mortgage, FSB, 747 F.3d 707, 711 (9th Cir. 2014) (holding that "Wells

21 Fargo is a citizen only of South Dakota, where its main office is located").

22 Accordingly, Wells Fargo Bank, N.A., is only a citizen of South Dakota, not

23       California, for diversity purposes. Thus, complete diversity exists here.
24                8.        Doe Defendants: Pursuant to 28 U.S.C. § 1441(a), the Court should
25       disregard the residence of fictitious and unknown defendants for purposes of
26
                The Complaint alleges that "Plaintiff [] is currently, and has been, a resident
27       of the County of Los Angeles, State of California at all relevant times." Complaint,
28       15.

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      establishing removal jurisdiction under 28 U.S.C. § 1332. Fristos v. Reynolds
 2 Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (unnamed defendants are not
 3    required to join in a removal petition). Thus, the existence of Doe Defendants 1
 4    through 100, inclusive, does not deprive this Court of jurisdiction.
 5                         AMOUNT IN CONTROVERSY EXCEEDS $75,000
 6             9.        This action is a civil action between citizens of different states and the
 7    amount in controversy exceeds $75,000, exclusive of interest and costs, and,
 8 accordingly, this Court has original jurisdiction under 28 U.S.C. § 1332(a).

 9             10.       "[A] defendant's notice of removal need include only a plausible
10 allegation that the amount in controversy exceeds the jurisdiction threshold." Dart

11    Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct. 547, 554 (2014). Dart
12   Cherokee explains that a removal petition is a pleading and, as a result, the
13   allegations stated in the removal do not need to be supported by extrinsic evidence.
14   In addition, Wells Fargo is not obliged to "research, state, and prove the plaintiffs
15   claims for damages." Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 377
16 (9th Cir. 1997). Wells Fargo can establish the amount in controversy by the

17   allegations in the Complaint, or by setting forth facts in the notice of removal that
18   demonstrate that the amount placed in controversy by Plaintiff exceeds the
19   jurisdictional minimum. Id. at 377.
20            11.        Alleged Lost Past and Future Earnings: Plaintiff alleges that, as a
21 result of Wells Fargo's conduct, she "lost, and will continue to lose, income and

22 benefits, in an amount to be proven at trial." At the time of Plaintiff s separation of

23   employment from Wells Fargo in December 2014, Plaintiff earned approximately
                                                            -j
24   $100,000.00 per year as a Portfolio Manager. Plaintiff makes no allegation in her
25   Complaint that she has found other work, let alone work that pays the same
26

27            Complaint         27, 33, 39, 48, and Prayer for Relief^ 2.

28            Complaint^ 15.a.

                                                      .4.
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      compensation that she previously received at Wells Fargo. Therefore, assuming it
 2    takes approximately one year by the time this matter is resolved by trial, Plaintiff s
 3    claimed lost earnings will be approximately $258,333.33 (this amount does not
 4    include any front pay that could be awarded by the jury if Plaintiff were to prevail at
 5    trial).
 6              12.     Emotional Distress Damages: In addition, Plaintiff alleges that, as a
 7    result of Wells Fargo allegedly discriminating and retaliating against, refusing to
 8 accommodate, and wrongfully terminating her, she "has become mentally upset,

 9    distressed and aggravated and has suffered, and will continue to suffer, humiliation,
 0 embarrassment and mental and/or emotional distress."4 The Court must consider
 1 these alleged damages in determining whether the amount in controversy
 2 requirement has been established. See Kroske v. U.S. Bank Corp., 432 F.3d 976,

 3   980 (9th Cir. 2005). Further, a defendant may use damage awards in other cases to
 4   establish that the amount in controversy exceeds $75,000. See Simmons v. PCR
 5   Tech., 209 F.Supp.2d 1029, 1033 (N.D. Cal. 2002). Juries in California have
 6 awarded well in excess of $75,000 for emotional distress damages in a wrongful

 7   termination case like this one. See, e.g., Wang v. Reese Scientific Corp., San
 8 Francisco Superior Court, Case No. CGC-13-528233 (awarding plaintiff $166,302

19   for emotional distress damages on claims including discrimination and wrongful
20 termination); Stallworth v. City of Los Angeles, Los Angeles Superior Court, Case

21   No. BC341480 (awarding $100,000 in emotional distress damages on race
22 discrimination and retaliation claims). Thus, if Plaintiff is able to prove her claims

23   at trial, it is reasonable to conclude that Plaintiff will seek, and a jury may award, in
24   excess of $75,000 for emotional distress damages. Accordingly, the amount in
25   controversy here clearly exceeds $75,000.
26

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28              Complaint fU 28, 34, 39, 48, and Prayer for Relief   1.

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               13.      Attorneys' Fees: The Complaint also alleges that Plaintiff is entitled to
      recover attorneys' fees.5 Requests for attorneys' fees should be taken into account
      in ascertaining the amount in controversy. See Gait G/S v. JSS Scandinavia, 142
 4    F.3d 1150, 1156 (9th Cir. 1998) (claims for attorneys' fees are to be included in
 5    amount in controversy, regardless of whether award is discretionary or mandatory).
 6 If Plaintiff litigated this case through trial and prevailed, it is reasonable to assume

 7    that Plaintiff could recover more than $100,000 in attorneys' fees.
 8            14.       Punitive Damages: The Complaint also alleges that Plaintiff is
 9   entitled to recover punitive damages.6 The Court should consider punitive damages
10 when determining the amount in controversy. See Simmons, 209 F.Supp 2d at 1033

1 1 (recognizing that jury verdicts in other similar cases in California "amply

12 demonstrate the potential for large punitive damage awards in employment

13   discrimination cases.").
14            15.       Based on the foregoing, there is ample evidence that the amount in
15   controversy, based on the totality of Plaintiff s claims and prayer for relief,
16 significantly exceeds $75,000.

17                                                VENUE
18            16.       Venue lies in the Central District of California pursuant to 28 U.S.C. §§
19   1441, 1446(a), and 84(c)(2). Plaintiff alleges that the actions that give rise to her
                                                                           1       O   o
20 Complaint took place in the County of Los Angeles, California.              Additionally,
21   Plaintiff originally brought this action in the Superior Court of the State of
22   California, County of Los Angeles.
23

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26            Complaint        29, 41, 49, Prayer for Relief If 5.
27           Complaint ^ 30, 35, 42, 50, Prayer for Relief f 4.
28           Complaint        4.

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                                    NOTICE OF REMOVAL
            17.      This Notice of Removal will be promptly served on Plaintiff and filed
   with the Clerk of the Superior Court of the State of California in and for the County
   of Los Angeles.
           18.       In compliance with 28 U.S.C. § 1446(a), true and correct copies of all
  "process, pleadings, and orders" from the state court action served on Wells Fargo
   or filed by Wells Fargo are attached hereto as the following exhibits, including the
   Complaint (Exhibit A), Summons (Exhibit B), and Answer to Complaint (Exhibit
   C).
           WHEREFORE, Wells Fargo requests that the above action pending before
  the Superior Court of the State of California for the County of Los Angeles be
  removed to the United States District Court for the Central District of California.


  Dated: July 1,2016

                                      SHEPPARD, MULLIN, RICHTER & HAMPTON
                                      LLP



                                     By                    /s/ Gregg A. Fisch
                                                           GREGG A. FISCH
                                                          JASON P. BROWN
                                                        Attorneys for Defendants
                                                       WELLS FARGO BANK, N.A.




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                                         PROOF OF SERVICE
                        STATE OF CALIFORNIA. COUNTY OF LOS ANGELES
            At the time of service, I was over 18 years of age and not a party to this action. I
      am employed in the County of Los Angeles, State of California. My business address is
      1901 Avenue of the Stars, Suite 1600, Los Angeles, CA 90067-6055.
 5       On July 1, 2016,1 served true copies of the following document(s) described as
   DEFENDANT WELLS FARGO BANK, N.A.'S NOTICE OF REMOVAL OF
 6 ACTION TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332,1441 AND
   1446 (DIVERSITY JURISDICTION) on the interested parties in this action as follows:
 7
                                 See Attached Service List
 8
           EBY MAIL: I enclosed the document(s) in a sealed envelope or package
 9 addressed to the persons at the addresses listed in the Service List and placed the envelope
   for collection ana mailing, following our ordinary business practices. I am readily familiar
10 with the firm's practice for collecting and processing correspondence for mailing. On the
   same day that the correspondence is placed for collection and mailing, it is deposited in the
11 ordinary course of business with the United States Postal Service, in a sealed envelope
   with postage fully prepaid. I am a resident or employed in the county where the mailing
12 occurred.

13        •BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
   document(s) to be sent from e-mail address cgreen@sheppardmulllin.com to the persons at
14 the e-mail addresses listed in the Service List. The document(s) were transmitted at
           a.m./p.m. I did not receive, within a reasonable
                                                        able time after the transmission, any
15 electronic message or other indication that the transmission was unsuccessful.
16         •BY OVERNIGHT DELIVERY: I enclosed said document(s) in an envelope or
   package provided by Overnight Delivery and addressed to the persons at the addresses
17 listed in the Service List. I placed the envelope or package for collection and overnight
   delivery at an office or a regularly utilized drop box of Overnight Delivery or delivered
18 such document(s) to a courier or driver authorized by Overnight Delivery to receive
   documents.
19
           I declare under penalty of perjury under the laws of the United States of America
20 California that the foregoing is true and correct and that the service was made at the
   direction of a member of the bar of this Court.
21
              Executed on July 1, 2016, at Los Angeles, California.
22
23
24                                               C. Camille M. Green
25
26

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 1                                 SERVICE LIST
 2

 3
   Victor L. George
 4 Wayne C. Smith
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   Torrance, CA 90503
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